                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                     CRIMINAL DOCKET NO.: 3:04CR255-V

UNITED STATES OF AMERICA              )
                                      )
           vs.                        )                  ORDER
                                      )
FLORENCIO SANMIGUEL,                  )
                Defendant.            )
_____________________________________ )

       THIS MATTER is before the Court on Defendant’s / Mr. Sanmiguel’s Second Motion
To Provide Non-Custodial Transportation Expenses, filed May 19, 2006.
       Trial commenced on May 16, 2006. At the conclusion of the trial, the jury found
Defendant not guilty of both offenses charged in the Superseding Bill of Indictment. Thus,
with respect to this individual Defendant, the criminal action is closed.
       Defendant now seeks an order from the Court directing the U.S. Marshal’s Service
to arrange and pay for Defendant’s travel from the Western District of North Carolina to his
residence in Laredo, Texas.
       However, it is the Court’s view that, notwithstanding Defendant’s indigent status, the
Court lacks statutory authority to require the Government, or any Government agency, to
pay Defendant’s expenses associated with his return trip home. 18 U.S.C. §4282. Further,
even if the Court had such discretion, the undersigned would decline to exercise it under
these circumstances.
       IT IS, THEREFORE, ORDERED that Defendant’s motion is hereby DENIED.




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